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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    AMYRIS, INC., et al.,                                         Case No. 23-11131 (TMH)

                                      Debtors. 1                  (Jointly Administered)

                                                                  Ref. Docket No. 578

            ORDER: (I) EXTENDING THE DEADLINE BY WHICH THE
          DEBTORS MUST ASSUME OR REJECT UNEXPIRED LEASES OF
     NONRESIDENTIAL REAL PROPERTY; AND (II) GRANTING RELATED RELIEF

             Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

debtors in possession (the “Debtors”) for the entry of an order (this “Order”): (a) extending the

time within which the Debtors may assume or reject unexpired leases of nonresidential real

property; and (b) granting related relief, all as more fully set forth in the Motion; and the United

States District Court for the District of Delaware having jurisdiction over this matter pursuant to

28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and the Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2), and that the Court may enter a final order consistent with Article III of the

United States Constitution; and the Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were



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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
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      Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.
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appropriate under the circumstances and no other notice need be provided; and the Court having

reviewed the Motion; and the Court having determined that the legal and factual bases set forth in

the Motion establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court; and after due deliberation and sufficient cause appearing therefor, IT IS

HEREBY ORDERED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The period by which the Debtors must assume or reject Unexpired Leases is hereby

extended, pursuant to section 365(d)(4) of the Bankruptcy Code, through and including March

6, 2024, without prejudice to the rights of the Debtors to seek additional extensions of the time to

assume or reject the Unexpired Leases as contemplated under §365(d)(4)(B)(ii) of the Bankruptcy

Code.

        3.       Nothing contained in this Order shall be construed as (a) an assumption or rejection

of any of the Unexpired Leases under section 365(a) of the Bankruptcy Code or (b) an admission

by the Debtors or the Committee that a particular instrument is or is not a true lease. Any and all

of the Debtors’ or the Committee’s rights, claims, and defenses with respect to the characterization

of the Unexpired Leases pursuant to sections 365(d)(3) and 365(d)(4) of the Bankruptcy Code or

otherwise are expressly reserved

        4.       Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion, and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

        5.       Notwithstanding the possible applicability of Bankruptcy Rules 6003, 6004(h),

7062, or 9014, or otherwise, the terms and conditions of this Order shall be immediately effective

and enforceable upon its entry.



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        6.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        7.       This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




      Dated: November 2nd, 2023                     THOMAS M. HORAN
      Wilmington, Delaware                          UNITED STATES BANKRUPTCY JUDGE



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